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TC-8
Last Activity: 1/13/2021 7:12:35 AM(UTC-8)
Number of attachments: 165
Source: Telegram
Source file: €577462c3126fd61 17148d47ebb1077cdcd3691e files _full.zip/private/var/mobile/Containers/Shared/AppGroup/237 A30D0-FE61-
47D7-84D1-511A2D9881 FB/telegram-data/account-8 13828 1883 10846801 3/postbox/db/db_ sqlite : 0x3021EC88 (Size: 873086976 bytes)
Body file: chat-4 txt

Participants:

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Identifier: 47108782

 

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